         Case 8:07-cr-00099-SDM-TBM Document 333 Filed 10/31/07 Page 1 of 6 PageID 985
A 0 2458 (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE

                                                                      CASE NUMBER: 8:07-cr-99-T-23TBM
                                                                      USM NUMBER: 49347-018
VS.


FRANCISCO PAUL VALDEZ-GONZALEZ
                                                                      Defendant's Attorney: Andrea Srubbs, pda

THE DEFENDANT:

X       pleaded guilty to counts ONE and TWO of the Indictment.


TITLE & SECTION                           NATURE OF OFFENSE                           OFFENSE ENDED                     COUNT

46 U.S.C. Sfj 70503(a),                   Conspiracy to Possess With Intent to        March 17, 2007                     ONE
70506(a) and (b); and                     Distribute 5 Kilograms or More of
2 1 U. S.C. 5 960(b)(l)(B)(ii)            Cocaine While Aboard a Vessel
                                          Subject to the Jurisdiction of the
                                          United States

46 U.S.C. $8 70503(a) and                 Possession With Intent to Distribute        March 17, 2007                     TWO
70506(a): 18 U.S.C. 8 2; and              5 Kilograms or more of Cocaine
2 1 U. S .C. 8 5 960(b)(l)(B)(ii)         While Aboard a Vessel Subject to
                                          the Jurisdiction of the United States

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district withi11 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                      Date of Imposition of Sentence: October 30, 2007




                                                                                           STEVEN D. MERRYDAY.                           \
                                                                                      UNITED STATES DISTRICT JUDGE

                                                                                      DATE: October 3 ? ? W
         Case 8:07-cr-00099-SDM-TBM Document 333 Filed 10/31/07 Page 2 of 6 PageID 986
A 0 245B (Rev 06/05) Sheet 2 - In~prisonment(Judgment in a Criminal Case)
Defendant:           FRANCISCO PAUL VALDEZ-GONZALEZ                                                       Judgment - Page 2 of &
Case No. :           8:07-cr-99-T-23TBM

                                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
TWO HUNDRED FORTY-FIVE (245) MONTHS as to Counts One and Two, both terms to run concurrently.




  X The court makes the following recommendations to the Bureau of Prisons: confinement at a correctional facility in the
state of Arizona.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
           - at - a.m./p.m. on -.
           - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           - before 2 p.m. on -.
           - as notified by the Uniled States Marshal,
           - as notified by the Probation or Pretrial Services Office.




                                                                        RETURN

           I have executed this judgment as follows:




                                                                                                             --      -




           Defendant delivered on                                                 to

-     at                                                                          , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                            By:
                                                                                         Deputy United States Marshal
         Case 8:07-cr-00099-SDM-TBM Document 333 Filed 10/31/07 Page 3 of 6 PageID 987
A 0 2393 (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            FRANCISCO PAUL VALDEZ-GONZALEZ                                                             Judgment - Page 3of 6
Case No. :            8:07-cr-99-T-23TBM
                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MONTHS as to Counts
One and Two, both terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S .C. 5 92 1.

X          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

X
-          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
           risk of future substance abuse.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leavc the judicial district without the permission of the court or probation officer;

        the defendant shall report to the probation officcr and shall submit a truthful and complete written report within thc first five days of each
        month:

        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

        the defendant shall support his or hcr depcndcnts and meet other family responsibilities;

        the defendant shall work regularly at a lawful occupation, unless excused by the probation officcr for schooling. training, or other acceptable
        reasons;

        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substancc or any paraphernalia related to any controlled substances, except as prescribed by a physician;

        the defendant shall not frequent placcs where controlled substances are illegally sold, used, distributed, or administered;

        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of a felony,
        unless granted permission to do so by the probation officer;

        the defendant shall permit a probation officer to visit him or her at any time at home or clsewherc and shall permit confiscation of any
        contraband observed in plain view of the probation officer;

        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

        the defendant shall not enter into any agreement to act as an informer or a special agent of a law cnforcemcnt agency without the permission
        of the court; and

        as directed by the probation officer, the dcfcndant shall notify third parties of risks that may be occasioned by the defendant's criminal record
        or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
       Case 8:07-cr-00099-SDM-TBM Document 333 Filed 10/31/07 Page 4 of 6 PageID 988
A 0 245B (Rev. 06/05)Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:           FRANCISCO PAUL VALDEZ-GONZALEZ                                                    Judgment - Page 4 of 6
case NO. :           8 :07-cr-99-T-23TBM
                                              SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:


-
X          If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
           governmental authority, currently the United States Department of Homeland Security.
         Case 8:07-cr-00099-SDM-TBM Document 333 Filed 10/31/07 Page 5 of 6 PageID 989
A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:            FRANCISCO PAUL VALDEZ-GONZALEZ                                                               Judgment - Page 5 of 6
Case No. :            8:07-cr-99-T-23TBM

                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                 -
                                                                           Fine                             Total Restitution

           Totals:              $200.00                                    $ waived                         $


           The determination of resti-tution is deferred until                 . An Amended Jicdgitzent in a Crirninal Case ( A 0 245C) will be
           entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or .percentage pa ment column below. However, pursuant to 18 U.S .C. 5
           3664(i), all non-federal victims must be p a d before the dnited States.


Name of Payee                                         Total Loss*                     Restitution Ordered                  Prioritv or Percentage




                                Totals:              s--                              L-

 -           Restitution amount ordered pursuant to plea agreement $
 -           The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
             before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 8 3612(0. All of the payment options on Sheet
             6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.8 3612(g).
 -           The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                    - restitution.
           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1IOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1f96.
       Case 8:07-cr-00099-SDM-TBM Document 333 Filed 10/31/07 Page 6 of 6 PageID 990
A 0 245B (Rev 06/05)Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant :          FRANCISCO PAUL VALDEZ-GONZALEZ                                                 Judgment - Page 6of 6
Case No. :           8:07-cr-99-T-23TBM


                                                         SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X       Lump sum payment of $ 200.00 due immediately, balance due
                                 -not later than                        , 01-
                                 -in accordance - C, - D, - E or - F below; or
B.         -         Payment to begin immediately (may be combined with -C, -D, or                        F below); or
C.         -         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $             over a
                     period of          (e. g . , months or years), to commence              days (e.g., 30 or 60 days) after the
                     date of this judgment; or
D.         -         Payment in equal                @.&., weekly, monthly, quarterly) installments of $              over a
                     period of             , (e.g., mon s or years) to commence                   (e.g . 30 or 60 days) after
                     release fiom imprisonment to a term of supervision; or
E.         -         Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
F.         -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during nprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
           Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) h e principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
